         Case 2:21-cv-03056-DSF-PD Document 25 Filed 04/09/21 Page 1 of 2 Page ID #:241



      AO 440(Rev.06/12) Summons in a Civil Action         ORIGINAL
                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Central District of California

          JUUL LABS, INC., a Delaware Corporation,




                                Plaint~(s)
                                    v.                                            Civil Action No. 2;21-CV-03056-CAS-PDx
 ANDY CHOU(aka LIZHI ZHOU),an individual; YIWi!CUTE JEWELRY CO.,
 LTD.,a Chinese limited company; YIWU XI1'E]EWELRY CO.,LTD.,a Chinese
 limited company; CJ FULFILLMENT CORP.,a California Corporation; CJ TRADE
 CORP.,an Arizona Corporation; and YIWiJ PROMOTIONAL TRADE CO.,LTD.
(aka YIWU PROMOTION TRADE CO., LTD.),a Chinese limited company;
                               Dejendant(s)


                                                      SUMMONS IN A CIVIL ACTION

     To:(Defe,:da,::'s,ume arrdaddress) CJ TRADE CORP., an Arizona Corporation,
                                        2 East Congress Street, Suite 900-126 Tucson, Arizona 85701
                                        2632519261~gq.com
                                        3326632399(c~gq.com
                                        yky940519@sina.com



               A lawsuit has been filed against you.

              Within 21 days after service of this summons on you(not counting the day you received it) — or 60 days if you
     aze the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
     P. 12(ax2)or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
     whose name and address aze:
                                     STEPHEN C. STEINBERG (ssteinberg@bzbm.com)
                                     GABRIELLA A. WILKINS (gwilkinsLcDbzbm.com)
                                     BARTKO ZANKEL BUNZEL 8~ MILLER
                                     One Embarcadero Center, Suite 800, San Francisco, California 94111
                                     Telephone:(415)956-1900


            If you fail to respond,judgment by default will be entered against you for the relief demanded in        laic
     You also must file your answer or morion with the court.                                               ;~v1 p~~,
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                                                                                    CLERK OF COURT                 ', ~ ~'~- ~
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     Date:              APR - 9 X021                                                             ~
                                                                                                 `                             1174
                                                                                              ignatw~e ojClerk or Deputy Clerk
     Case 2:21-cv-03056-DSF-PD Document 25 Filed 04/09/21 Page 2 of 2 Page ID #:242

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Civil Action No.

                                                PROOF OF SERVICE
                 (This section should not befiled with the court unless required by Fed R Civ P.4(1))

          This summons for (name ojindividua!and ride, fany)
was received by me on (care)

          O I personally served the summons on the individual at(p[oce)
                                                                            on (date)                           ; or

          O I left the summons at the individual's residence or usual place of abode with(game)
                                                              a person of suitable age and discretion who resides there,
          on (dare)                            ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on name ofi,rdvidual)                                                                   .who is
           designated by law to accept service of process on behalf of(name oforganizarion)
                                                                            On (date)                            or

          ~ I returned the summons unexecuted because                                                                         or

          ~ Other(spec):




          My fees are $                        for travel and $                 for services, for a total of$          0.00


          I declaze under penalty of perjury that this information is true.


Date:
                                                                                        Server's signature



                                                                                   Printed name and title




                                                                                        Server's address


Additional information regazding attempted service, etc:
